                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MISSOURI
                           SAINT JOSEPH DIVISION
CHRIS NIJSSE,                       )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )   Case No:    5:17-CV-06106-SJ-BP
                                    )
CITIGROUP TECHNOLOGY, INC., et al., )
                                    )
      Defendants.                   )
                                    )

                             STIPULATION OF DISMISSAL

      COMES NOW the plaintiff, Chris Nijsse, by and through his attorneys, Stephen D.

Lanterman and Alan V. Johnson of the law firm of SLOAN, EISENBARTH, GLASSMAN

MCENTIRE & JARBOE, L.L.C., and the defendant, Citigroup Technology, Inc., by and

through its attorneys, AnnRene S. Braun and Eric A. Todd, of the law firm of OGLETREE,

DEAKINS, NASH, SMOAK & STEWART, P.C., and pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(ii),

do hereby stipulate that all claims under the Age Discrimination in Employment Act

(ADEA) asserted in this lawsuit by plaintiff, Chris Nijsse, against defendant, Citigroup

Technology, Inc., be dismissed with prejudice. Plaintiff and Defendants shall bear their

respective costs and fees.

                                 Respectfully Submitted By:

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